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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

REBECCA GARDNER,                                  )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )   CIV. ACT. NO. 1:22-cv-450-TFM-C
                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
       Defendant.                                 )

                                              ORDER

        Pending before the Court is the Joint Stipulation for Dismissal (Doc. 38, filed 2/6/24) in

which the parties jointly agree to dismiss all claims with prejudice. The Rules of Civil Procedure

permit a plaintiff to voluntarily dismiss the action without an order of the court “by filing a notice

of dismissal before the opposing party serves either an answer or a motion for summary judgment”

or “a stipulation signed by all parties who have appeared.” FED. R. CIV. P. 41(a)(1)(A).

       Here, the joint stipulation is signed by both sides. Consequently, by operation of Fed. R.

Civ. P. 41(a)(1)(A)(ii), this action has been dismissed in accordance with the joint notice.

Therefore, this case is dismissed with prejudice with each party to bear their own attorneys’ fees

and costs.

       The Clerk of the Court is DIRECTED to close this case.

       DONE and ORDERED this 29th day of February, 2024.

                                               /s/ Terry F. Moorer
                                               TERRY F. MOORER
                                               UNITED STATES DISTRICT JUDGE




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